Case 2:O4-cr-20493-.]DB Document 22 Filed 05/26/05 Page 1 of 2 Page|D 26

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
` WESTERN DIVISION

UNITED STATES ()F AMERICA,

 

Plaintiff,
v. No. 04-20493-JDB
IMHONA ARNOLD EKO- ISENALUMHE,

Defendant.

 

`ORDER WAIVING DEFENDANT’S APPEARANCE

 

Defendant has moved the Court to Waive his appearance at the report date of May
31, 2005, for good cause Shown and With no objection from the government and the

motion is granted. Defendant Will not be required to appear at the report Set for May 31,

2005. Defense counsel Will appear on his behalf

russo oRDEREDthisthe %$\ day er M@V\ ,2005.

,~. ‘.C€
tgrj.o;: ‘»<a‘ aheat n 39'1;"“`
L

5 en
octtme rt rewardj /

_1 _
Th\§{ 5 andlor 32{‘0`) FHCFP on

w'\th F€U\e 5

 

_ DISICT COURT - WESERNT D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CR-20493 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listedl

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
l\/lemphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

